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        6
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            non-profit corporation
        8
                                    UNITED STATES DISTRICT COURT
        9
                                   EASTERN DISTRICT OF CALIFORNIA
       10
       11   VIDEO GAMING TECHNOLOGIES, INC.,            )   Case No. 2:08-CV-01241 JAM EFB
            dba, VGT, Inc., a Tennessee Corporation;    )
       12
            UNITED CEREBRAL PALSY OF GREATER            )   STIPULATION RE AMENDMENT TO
       13   SACRAMENTO, a California Non-Profit         )   ORDER GRANTING PRELIMINARY
            Corporation; WIND Youth Services, a         )   INJUNCTION AND ORDER
       14   California Non-Profit Corporation; ROBERT   )   THEREON
            FOSS, an individual; JOAN SEBASTIANI, an    )
       15   individual,                                 )
       16                                               )
                              Plaintiffs,               )
       17                                               )
            V.                                          )
       18                                               )
            BUREAU OF GAMBLING CONTROL, a law           )
       19   enforcement division of the California      )
       20   Department of Justice; MATHEW J.            )
            CAMPOY, in his official capacity as the     )
       21   Acting Chief of the Bureau of Gambling      )
            Control,                                    )
       22                                               )
                              Defendants,               )
       23
                                                        )
       24   and                                         )
                                                        )
       25   CAPITAL BINGO, INC., a California           )
            Corporation; HAGGIN GRANT POST NO.          )
       26   521, THE AMERICAN LEGION,                   )
       27   DEPARTMENT OF CALIFORNIA, a                 )
            California Non-Profit Corporation; CASA     )
       28   ROBLE HIGH SCHOOL RAMSEMEN, INC.,           )
                                                          -1-
                                          STIPULATION RE AMENDMENT TO
                     ORDER GRANTING PRELIMINARY INJUNCTION AND ORDER THEREON
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        1   a California Non-Profit Corporation; MARY         )
            BROWN, an individual,                             )
        2                                                     )
                            Intervenors.                      )
        3
            ____________________________________
        4
        5          In light of the earlier Preliminary Injunction proceedings in this case, and due to the
        6   similarity of factual and legal issues that would be presented by Plaintiff-Intervenor, EL
        7   CAMINO ATHLETIC BOOSTERS CLUB’s (“Boosters’”) bringing a Motion for a
        8   Preliminary Injunction in connection with the Cease and Desist Order issued by
        9   Defendants, BUREAU OF GAMBLING CONTROL, and its Interim Chief, MATHEW J.
       10   CAMPOY (collectively “BGC”), which Cease and Desist Order was served on the
       11   Boosters on May 8, 2008, at the Boosters’ location known as Charity Bingo, and listed
       12   thereon as 2961 Fulton Avenue (actually located at 2929 Fulton Avenue, Suites 10 & 12),
       13   Sacramento, CA 95821, and in the interest of judicial economy, Boosters and BGC
       14   herewith stipulate and agree to the amendment of the Order Granting Preliminary
       15   Injunction entered by the Court in the instant action on June 30, 2008 (the “Order”), as
       16   follows:
       17          1.     BGC, and any persons, entities and/or agencies acting in concert with
       18   them, shall herewith be enjoined and restrained, in the same manner set forth in the
       19   Order, from enforcing the Cease and Desist Order served on the Boosters at its Charity
       20   Bingo location referenced above, and from attempting to confiscate, seize or interfere in
       21   any way with the use any of the 71 Quick Shot Multifunction electronic bingo gaming
       22   machines at the Boosters’ Charity Bingo location, pending the trial of this action;
       23          2.     By entering into this stipulation, BGC does not waive any of its defenses or
       24   claims that Boosters is not entitled to the relief given in the Order nor does BGC waive
       25   any defenses and objections that it may have in regard to the Boosters’ complaint in
       26   intervention; and
       27
       28
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                                          STIPULATION RE AMENDMENT TO
                     ORDER GRANTING PRELIMINARY INJUNCTION AND ORDER THEREON
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        1         3.     Boosters agrees that it will be bound by the decision in the appeal by BGC,
        2   which appeal was filed on July 29, 2008, and is currently pending.
        3         IT IS HEREBY SO AGREED.
        4
        5   Dated: August 21, 2008                  LAW OFFICES OF K. GREG PETERSON

        6                                           By: /s/ K. Greg Peterson
                                                            K. Greg Peterson, Esq., attorney for
        7                                           Plaintiff-Intervenor, EL CAMINO ATHLECTIC
        8                                           BOOSTERS CLUB, a California non-profit
                                                    corporation
        9
       10                                           Edmund G. Brown, Jr.,
                                                    Attorney General of the State of California
       11                                           Robert L. Mukai,
                                                    Senior Assistant Attorney General
       12                                           Sara J. Drake,
       13                                           Supervising Deputy Attorney General
                                                    Jennifer T. Henderson
       14                                           Deputy Attorney General
       15
            Dated: August 21, 2008                  By: /s/ William L. Williams, Jr.
       16
                                                            William L. Williams, Jr.
       17                                                   Deputy Attorney General
                                                    Attorneys for Defendants
       18
       19   ///
       20   ///
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                                          STIPULATION RE AMENDMENT TO
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        1                                            ORDER
        2         Based upon the above stipulation of the parties and for good cause shown, the
        3   Order Granting Preliminary Injunction (“Order”) entered by this Court on June 30, 2008 in
        4   this action shall be and herewith is amended as provided for in the above-referenced
        5   stipulation. BGC, and any persons, entities and/or agencies acting in concert with them,
        6   are herewith and shall, from this point forward, be enjoined and restrained, in same
        7   manner set forth in the Order, from enforcing the Cease and Desist Order served on May
        8   8, 2008, on the Boosters at its Charity Bingo location at 2929 Fulton Avenue (Suites 10
        9   and 12), Sacramento, CA, and from attempting to confiscate, seize or interfere in any
       10   way with the use any of the 71 Quick Shot Multifunction electronic bingo gaming
       11   machines at the Boosters’ above-referenced location, pending the trial of this action.
       12
       13         IT IS HEREBY SO ORDERED.
       14
       15
       16   Date: August 22, 2008                          /s/ John A. Mendez
                                                            Hon. John A. Mendez
       17                                            United States District Court
                                                     Eastern District of California
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                                          STIPULATION RE AMENDMENT TO
                     ORDER GRANTING PRELIMINARY INJUNCTION AND ORDER THEREON
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